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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )
                                      )                 8:05CR252
            vs.                       )
                                      )                     ORDER
JACKIE GARCIA,                        )
                                      )
                  Defendant.          )




      Before the court is Attorney Michael D. Gooch’s Motion to Withdraw [27] as
counsel for the defendant due to a conflict of interest. On July 7, 2005, Attorney
Joseph F. Gross was appointed by the court. For that reason, the Motion to
Withdraw [27] will be granted and Mr. Gooch will be deemed withdrawn as
attorney of record.

      IT IS SO ORDERED.

      DATED this 11th day of July, 2005.


                                      BY THE COURT:



                                      s/ F. A. Gossett
                                      U.S. Magistrate Judge
